

Matter of Biasotto v James (2025 NY Slip Op 01766)





Matter of Biasotto v James


2025 NY Slip Op 01766


Decided on March 25, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 25, 2025

Before: Webber, J.P., Friedman, Mendez, Shulman, Higgitt, JJ. 


Index No. 304231/18|Appeal No. 3973|Case No. 2024-07688|

[*1]In the Matter of Amy Biasotto, Petitioner,
vTa-Tanisha James et al., Respondents.


Orrick, Herrington &amp; Sutcliffe LLP, New York (Rene Kathawala of counsel), and Warshaw Burstein, LLP, New York (Jennifer Sundt of counsel), for petitioner.
Letitia James, Attorney General State of New York (Shi-Shi Wang of counsel), for Hon. Ta-Tanisha James, respondent.



The above-named petitioner having presented an application to this Court praying for an order, pursuant to article 78 of the Civil Practice Law and Rules, and respondents having cross-moved for dismissal of the petition,
Now, upon reading and filing the papers in said proceeding, and due deliberation having been had thereon,
It is unanimously ordered that the application be and the same hereby is denied, the cross-motion granted, and the petition dismissed, without costs or disbursements.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 25, 2025








